     Case 2:07-cr-00248-WBS Document 1510 Filed 03/15/17 Page 1 of 1


1

2

3

4

5
                         UNITED STATES DISTRICT COURT
6
                        EASTERN DISTRICT OF CALIFORNIA
7

8                                 ----oo0oo----

9
     EDWARD FUENTES,                     CR. NO. 2:07-0248-11 WBS
10
                  Petitioner,            ORDER
11
         v.
12
     UNITED STATES OF AMERICA,
13
                  Respondent.
14

15

16
                                  ----oo0oo----
17

18             On March 14, 2017, defendant Edward Fuentes filed a

19   motion to reduce sentence pursuant to 18 U.S.C. § 3582.           (Docket

20   No. 1509.)   The United States shall file an opposition to

21   petitioner’s motion no later than April 11, 2017.         Petitioner may

22   then file a reply no later than May 2, 2017.        The court will then

23   take the motion under submission and will inform the parties if

24   oral argument or further proceedings are necessary.

25             IT IS SO ORDERED.

26   Dated:   March 15, 2017

27

28
                                         1
